                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                                 .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                        15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


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      MOTION TO REOPEN DEPOSITION OF PLAINTIFF VIRGINIA GIUFFRE




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       Pursuant to Federal Rule of Civil Procedure 30(a)(2), Defendant Ghislaine Maxwell

seeks leave of the Court to reopen the deposition of Plaintiff Virginia Giuffre, and as grounds

therefore states as follows:

                                       INTRODUCTION

       Plaintiff has engaged in an active effort to hide relevant information and prevent the fair

examination of Plaintiff on her claims. Due to these multiple and repeated discovery violations,

key information and documents were unavailable to Ms. Maxwell prior to Plaintiff’s depositions

on May 3, 2016. Some obviously relevant documents and disclosures remain concealed and are

the subject of pending frivolous efforts by Plaintiff to evade her discovery obligations.

       Recently, Plaintiff completely changed her Rule 26(a) initial disclosures and added

multiple new witnesses while deleting many others. In addition, in the initial deposition,

Plaintiff’s counsel improperly prevented Plaintiff from testifying regarding key relevant non-

privileged information without basis or justification.

       Finally, Plaintiff has now provided an errata sheet to her sworn depositions testimony in

which she materially and substantially contradicts her own testimony. For these reasons,

Plaintiff’s depositions must be reopened to examine her on newly discovered evidence and her

contradictory statements.

                                          ARGUMENT

       “A person who has previously been deposed in a matter may be deposed again, but only

with leave of the court.” Official Comm. of Unsecured Creditors of Exeter Holdings, Ltd. v.

Haltman, No. CV135475JSAKT, 2016 WL 1180194, at *3 (E.D.N.Y. Mar. 25, 2016) (quoting

Sentry Ins. v. Brand Mgmt. Inc., No. 10 Civ. 347, 2012 WL 3288178, at *8 (E.D.N.Y. Aug. 10,

2012); Fed. R. Civ. P. 30(a)(2)(B). Under Rule 30(a)(2)(B), courts “frequently permit a


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deposition to be reopened where the witness was inhibited from providing full information at the

first deposition” or “where new information comes to light triggering questions that the

discovering party would not have thought to ask at the first deposition.” Vincent v. Mortman,

No. 3:04 CV 491 (JBA), 2006 WL 726680, at *1 (D. Conn. Mar. 17, 2006) (quoting Keck v.

Union Bank of Switzerland, 1997 WL 411931, at *1 (S.D.N.Y. July 22, 1997). “Leave should be

granted to the extent that doing so is consistent with the factors set forth in Rule 26(b)(2), such as

'whether the second deposition of the witness would be unnecessarily cumulative, whether the

party requesting the deposition has had other opportunities to obtain the same information, and

whether the burden of a second deposition outweighs its potential benefit.’” Official Comm. of

Unsecured Creditors of Exeter Holdings, Ltd., 2016 WL 1180194, at *3 (quoting Sentry Ins.,

2012 WL 3288178, at *8).

       “Courts will typically re-open a deposition where there is new information on which a

witness should be questioned.” Id. (quoting Ganci v. U.S. Limousine, Ltd., No. 10-3027, 2011

WL 4407461, at *2 (E.D.N.Y. Sept. 21, 2011)). This encompasses situations in which other

discovery has disclosed conflicting evidence on which a party should be questioned, when

discovery responses and relevant information are produced after the previous deposition, and

when affidavits produced conflict with the deponent’s previous testimony. See, e.g, Vincent v.

Mortman, No. 04 Civ. 491, 2006 WL 726680, at *1–2 (D. Conn. Mar. 17, 2006) (allowing

plaintiff to reopen deposition when one witness' deposition contradicted defendants' deposition

and medical records); Keck, 1997 WL 411931, at *2 (S.D.N.Y. July 22, 1997) (deposition

reopened where affidavit provided evidence conflicting with witness testimony); Sentry Ins.,

2012 WL 3288178, at *8 (permitting reopening of deposition based on production of document

deponent unjustifiably failed to produce prior to deposition).



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        Requests to reopen depositions routinely are granted after a deponent materially changes

her prior testimony in contradiction to previous sworn testimony. Miller v. Massad-Zion Motor

Sales Co., No. 3:12 CV 1363, 2014 WL 4979349, at *2 (D. Conn. Oct. 6, 2014); Hlinko v. Virgin

Alt. Airways, No. 96 Civ. 2873(KMW)(THK), 1997 WL 68563, at *1 (S.D.N.Y. Feb. 19, 1997).

“In addition, courts will also re-open a deposition ‘where the witness was inhibited from

providing full information at the first deposition.’” Official Comm. of Unsecured Creditors of

Exeter Holdings, Ltd., 2016 WL 1180194, at *3 (quoting Miller, 2014 WL 4979349, at *2 (D.

Conn. Oct. 6, 2014)). All of these factors are present in this case, necessitating the re-opening of

Plaintiff’s deposition.

I.      PLAINTIFF’S PRODUCTION OF KEY DOCUMENTS AFTER HER
        DEPOSITION NECESSITATES ADDITIONAL EXAMINATION

        A.       Plaintiff failed to identify her health care providers and produce their
                 records prior to her deposition, despite this Court’s order

        On April 21, 2016 this Court ordered Plaintiff to produce her medical records and

identify all of her health care providers from 1999 to present and produce their medical records.

Menninger Decl., Ex. A at 20-21. Undersigned counsel diligently followed up via phone and

correspondence and requested that all information relating to Plaintiff’s medical treatment be

provided prior to Plaintiff’s May 3, 2016 deposition precisely so that the deposition would not

need to be reopened. Menninger Decl., Ex. B. On April 29, 2016, after telling this Court that

she had disclosed all of her health care providers, Plaintiff served Second Amended

Supplemental Responses & Objections, identifying 15 new health care providers. Menninger

Decl., Ex. C at 18-20.1 For some providers, records were produced; for many, they were not. Id.


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 Treatment providers identified included 1) Dr. Steven Olson, 2) Dr. Chris Donahue, 3) Dr. John Harris 4) Dr.
Majaliyana 5) Dr. Wah, 6) Dr. Sellathuri, 7) Royal Oaks Medical Center, 8) Dr. Carol Hayek, 9) NY Presbyterian
Hospital, 10) Campbelltown Hospital, 11) Sydney West Hospital, 12) Westmead Hospital, 13) Dr. Karen Kutikoff,
14) Wellington Imaging Associates, and 15) Growing Together.

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light, and the information that has yet to be produced, justifies the reopening of Plaintiff’s

deposition.

       B.      Plaintiff failed to produce emails form her iCloud and hotmail accounts

       By interrogatory, Plaintiff was asked to identify “email address, email account, cellphone

number and cellphone provider, social media account and login or screen name, text or instant

messaging account name and number, that You have used, applied for or been supplied between

1998 and the present.” Menninger Decl., Ex. C at 8-9. Plaintiff responded, identifying a single

email address and three telephone numbers. Plaintiff’s counsel verified those discovery requests

pursuant to Rule 33(b)(5).

       Through a detailed review of the documents produced by Plaintiff in discovery, Ms.

Maxwell uncovered Plaintiff has used at least three other email accounts – one on iCloud, one on

live.com, and one on hotmail.com during the relevant time periods. Plaintiff’s counsel confesses

that prior to being confronted on the issue, they never reviewed the emails in the accounts for

relevant information. Menninger Decl., Ex. J. The claims that counsel did not know these email

accounts exist is belied by the fact that they have now included “privileged” communications

from at least one of the accounts on their privilege log demonstrating and indicating there are

probably privileged communications in the account they have not reviewed. Thus, they both

knew about the accounts and corresponded with Plaintiff using those accounts, yet failed to

disclose the accounts or to review them for relevant information.

       It was not until Ms. Maxwell subpoenaed records from Apple on June 8, 2016, that – two

days later – Plaintiff finally produced emails from the iCloud account. Menninger Decl., Ex. K.

Plaintiff still has failed to review or produce any documents from her live.com account or her




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hotmail account.3 Plaintiff’s attorneys claim they cannot access these accounts, or that those

accounts have been closed. See Doc. #207. Through the service of a subpoena on Microsoft,

Ms. Maxwell’s counsel has learned this is untrue. The hotmail account remains “active” and

Microsoft has preserved the information in that account. Ms. Maxwell’s counsel provided the

release from Microsoft so that the emails can be accessed. Menninger Decl. Ex. L. Plaintiff has

refused to execute the release to permit the document production. The hotmail account is active,

can be accessed, and Plaintiff has simply failed to review these accounts for relevant information

or permit discovery of relevant evidence.

        The limited information produced from the iCloud account shows that responsive

information exists. The production includes Plaintiff’s communications with FBI agent Jason

Richards in 2014 and suggests that Plaintiff was in regular communication with him at various

times, particularly in mid-2014. Despite this, few pieces of correspondence with Agent Richards

have been produced. Plaintiff also produced an email to Christina Pyror of the FBI but not any

response to that email.

        The iCloud account also discloses a previously undisclosed potential witness, Sharon

Rikard, a person working at a not-for-profit relating to sexual trafficking victims. Apparently, in

March 2015 (well after the alleged defamatory statement), Plaintiff for the first time was doing

something to attempt to make Victims Refuse Silence look like a real organization. This timing

is important because it demonstrates Plaintiff was not in the purported profession of helping

victims prior to the alleged defamatory statements (January 2015), and therefore cannot claim

that the alleged defamatory statement related to her profession at the time the statement occurred.




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 Ms. Maxwell has issued subpoena for records from all of these accounts. Plaintiff had filed a motion for protective
order, and thus is still trying to prevent access to relevant discovery.

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       It is completely unknown what other relevant and probative information will be

uncovered in Plaintiff’s previously hidden accounts, including her hotmail account. What is

clear is that Ms. Maxwell has had no opportunity to depose Plaintiff about these issues,

necessitating the reopening of her deposition.

       C.      Plaintiff has failed to produce her employment records

       In the April 21, 2016, hearing, the Court also ordered that Plaintiff produce records

relating to her employment history, including identifying her employer, dates of employment,

nature of employment and earnings. Menninger Decl., Ex. A at 25. These documents are

directly related to Plaintiff’s damages claims for lost earnings and loss of earning potential – i.e.

Plaintiff’s own actual historic earnings necessarily informs the basis for any claimed loss of

earnings. Based on the resumes provided by Plaintiff in discovery, Ms. Maxwell also requested

personnel record releases for all employers listed on Plaintiff’s resume, which were provided on

April 29, 2016. Prior to Plaintiff’s deposition, no employment records had been produced.

       At Plaintiff’s deposition, Plaintiff admitted that much of her resume was fabricated and

replete with lies. Menninger Decl., Ex. D at 67-90. At least 3 of the employers included on the

resume were jobs she never held – she researched the internet to find places where she might

have worked, listed them as actual jobs, and then fictionalized her job description. With respect

to other employers, she expanded the end date of employment to fabricate a continual work

history. Plaintiff ultimately admitted that she has not held a single paid employment position

since 2006.

       After Plaintiff’s deposition, Plaintiff provided additional documentation concerning her

employment history. Through employment records releases (requested well before Plaintiff’s

deposition), Ms. Maxwell obtained employment records from Employment and Training

Australia, one of Plaintiff’s non-fabricated employers. Those records include pay history,
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showing that Plaintiff’s wage rate was under $28,000 per year.4 Until now, Ms. Maxwell has not

had the information necessary to examine Plaintiff on this lost income aspect of her damages

claims.

          D.      Plaintiff has failed to produce her education records

          In the April 21, 2016, hearing, the Court also ordered Plaintiff to turn over her education

records. Again, this information, or forms to permit the release of the information, were

provided well in advance of the Plaintiff’s scheduled deposition, specifically February 12, to

permit full examination on these issues. Again, Plaintiff did not provide the releases until mere

days before her deposition, and only after this Court’s order. Since Plaintiff’s deposition,

various education documents have been obtained through those releases, specifically documents

from Plaintiff’s various high schools, including Wellington High School, Royal Palm High, and

Survivor’s Charter School. The records contain substantial information conflicting with

Plaintiff’s previous testimony. Ms. Maxwell is entitled to examine Plaintiff on this previously

undisclosed evidence.

          E.      Plaintiff has filed amended Rule 26 disclosures identifying new witnesses

          Finally, on June 1, 2016, weeks after her deposition and in the final month of the fact

discovery period, Plaintiff filed her “Third Revised” Rule 26 disclosures. She has expanded her

list of witnesses with relevant information from 69 specific witnesses to 87. She curiously

removed witnesses previously disclosed. With regard to all of these witnesses, she fails to

identify who they are and what information they allegedly have that is relevant to the case. The

stock description for each person is “Has knowledge of Ghislaine Maxwell and Jeffery Epstein’s

sexual trafficking conduct and interaction with underage minors.” Menninger Decl, Ex. N at 14.

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 Plaintiff’s Rule 26(a) disclosure claims lost income as “estimated lost income of $180,000 annually, Present value
of $3,461,000 to $5,407,000. This is based solely on the “average” earning of a woman Plaintiff’s age. Obviously,
any actual lost earnings must be based on Plaintiff’s own earning history and work records, which is vastly different.

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These disclosures provide no actual information, such as the type of alleged knowledge, basis of

the knowledge or how the information is in any way relevant to this single count defamation

case. She also has amended her document disclosures list but has failed to produce any of the

new documents she has identified, despite repeated requests for these documents. Id. at 16.

       These late disclosures are clearly improper and should be stricken under Rule 37(c), a

matter for a different motion. Nevertheless, these material changes include witnesses that were

obviously known to Plaintiff since the inception of the case. Ms. Maxwell is entitled to question

Plaintiff on these disclosures to determine what, if any, relevant information these newly

disclosed witnesses might have.

       In total, Plaintiff has produced over 256 additional documents since her deposition, and

other documents have been obtained through previously withheld releases. As will be briefed

separately, there are multiple additional documents that have still not been produced. Of the

information uncovered, much of it directly contradicts Plaintiff’s previous sworn discovery

responses and her sworn deposition testimony. This is precisely the type of situation that

requires reopening Plaintiff’s deposition.

II.    PLAINTIFF’S COUNSEL INSTRUCTED PLAINTIFF NOT TO ANSWER
       RELEVANT, NON-PRIVILEGED QUESTIONS IN HER FIRST DEPOSITION

       Plaintiff was instructed by her attorney not to answer certain questions during her

deposition without basis. The questions did not seek privileged information, were completely

appropriate, and directly relevant to issues in case.

       It is axiomatic that counsel at a deposition “may instruct a deponent not to answer only

when necessary to preserve a privilege, to enforce a limitation ordered by the court, or to present

a motion under Rule 30(d)(3).” Fed. R. Civ. P. 30(c)(2); Redwood v. Dobson, 476 F.3d 462,

467-68 (7th Cir. 2007) (“Counsel for the witness may halt the deposition and apply for a


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protective order, see [Rule 30(d)(3)], but must not instruct the witness to remain silent.”);

Quantachrome Corp. v. Micromeritics Instrument Corp., 189 F.R.D. 697, 701 (S.D. Fla. 1999)

(counsel “may instruct the witness not to answer or may halt the deposition. Fed.R.Civ.P.

30(d)(3). Counsel may do so, though, only if he intends to move for a protective order under

Rule 30(d)(3)”); Harris v. Bornhorst, 513 F.3d 503, 525-26 (6th Cir. 2008) (“despite the lack of

relevancy of the questions to the claims asserted, absent a privilege or protective order, a

deponent must answer questions posed at a discovery deposition”). Where counsel improperly

instructs a witness not to answer, courts routinely require the deposition to be reopened. Keck,

1997 WL 411931, at *1.

       At Plaintiff’s first deposition, Plaintiff was instructed not to answer three different areas

of inquiry where there was simply no basis for claiming any privilege or right to protection.

Plaintiff has never moved for a protective order on these lines of inquiry because there is no

basis for prohibiting the discovery.

       First, Plaintiff was asked to identify any statements printed or published by Sharon

Churcher, the Daily Mail reporter who spent several days meeting with Plaintiff and published

numerous stories regarding Plaintiff in 2011 and thereafter. Plaintiff testified that despite her

very close relationship with Ms. Churcher, she no longer trusts Ms. Churcher and that Churcher

did not accurately report portions of what Plaintiff told her. Menninger Decl., Ex. D at 216-26.

When Plaintiff was asked to describe the statements Ms. Churcher reported that were inaccurate,

Plaintiff’s counsel refused to allow testimony unless Plaintiff was given all of Ms. Churcher’s

articles and had a chance to review them. Menninger Decl., Ex. D at 215-26. He refused to let

Plaintiff testify based on her own independent recollection. Id. This is simply improper, and

alone serves as a valid basis for reopening the deposition.



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        The second area of inquiry on which Plaintiff was prohibited from testifying was her

communications with law enforcement since 2014, in particular regarding Ms. Maxwell.

Menninger Decl. Ex. D at 244-45. Counsel refused to let Plaintiff answer these questions despite

this Court’s order that Plaintiff was to turn over all documents concerning communications with

law enforcement, excepting only Plaintiff’s own statements to law enforcement which would be

provided for in camera review. Menninger Decl., Ex. A at 24. Rather than complying with this

very clear order, Plaintiff’s counsel refused to provide any documents regarding communications

with law enforcement agencies (including their own), and submitted all documents for in camera

review. Ms. Maxwell is entitled to all documents concerning contacts with law enforcement

(both her attorney’s communications, which have been ordered to be produced, and her own

statements, which the Court should order be produced), and to question Plaintiff regarding the

same.

        The third question Plaintiff was prohibited from answering concerned her consultations

with an undisclosed psychiatrist sometime after 2015. Plaintiff’s counsel indicated this is a

consulting expert. Even if that is the case, Ms. Maxwell is entitled to the identity of this health

care provider. Manzo v. Stanley Black & Decker Inc., No. CV 13-3963 JFB SIL, 2015 WL

136011, at *2 (E.D.N.Y. Jan. 9, 2015) (identity of non-testifying experts discoverable); Baki v.

B.F. Diamond Constr. Co., 71 F.R.D. 179, 181–82 (D. Md. 1976) (same); Eisai Co. v. Teva

Pharm. USA, Inc., 247 F.R.D. 440, 441–42 (D.N.J. 2007) (same).

        In light of the clearly improper instructions not to answer non-privileged relevant

questions, Plaintiff’s deposition must be reopened.




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III.   PLAINTIFF MADE MATERIAL CHANGES TO HER DEPOSITION THAT
       COMPLETELY CONTRADICT HER SWORN TESTIMONY

       The final and perhaps most compelling reason to reopen Plaintiff’s deposition is the fact

that Plaintiff filed an errata sheet for her deposition in which she materially contradicts her prior

sworn testimony. Menninger Decl., Ex. M. A court may reopen a deposition if the changes to

the transcript are made without adequate reasons, or if they are so substantial as to render the

transcript incomplete or useless. See Hlinko, 1997 WL 68563, at*1 (citing Allen & Co. v.

Occidental Petroleum Corp., 49 F.R.D. 337, 341 (S.D.N.Y.1970)); see also Miller, 2014 WL

4979349, at *2.

       Plaintiff’s errata changes are astounding, literally reflecting complete contradictions of

her actual sworn testimony by changing “yes” answers to “no,” and indicating “clarification of

answer” as the basis for total revision. A vast majority of the 20 changes regard a very specific

date testified to by Plaintiff in her deposition that has a profound impact in this matter, as her

attorneys are fully aware. Specifically, Plaintiff was confronted with the fact that on no less than

10 occasions she has sworn under oath she met Ms. Maxwell in 1999, when she was 15 years

old. This is a lie. Plaintiff pinpoints this date based on the fact that she was working at the Mar-

A-Lago spa. Discovery has uncovered that Plaintiff did not work for the Mar-A-Lago until

2000, and Plaintiff’s self-prepared resume states that it was not until August of 2000 when she

was 17 years old. Plaintiff had been well coached on how to answer to the prior perjured

testimony, being prompted to claim that her sworn statements were a “mistake,” and that she

only learned her dates of employment at the Mar-A-Lago through discovery. Menninger Decl.,

Ex. D at 26. The question was then posed about when she “learned” of her mistake based on

discovery, to which Plaintiff clearly and unequivocally responded on no less than six occasions

that she learned her dates of employment at Mar-A-Lago in mid-2015 – before many of her


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sworn statements. After a break in the deposition and being coached by her counsel, Plaintiff

pulled back on her conviction regarding the date, and became less certain of the time frame, but

still put the time frame in late 2015. Id. at 66. After her deposition, she completely changed the

date she “learned” she was employed at Mar-A-Lago in 2000 to a firm date of mid-February

2016, over six months later than the date to which she originally testified based on her own

independent recollection. Menninger Decl., Ex. M.

       This is not the only substantive and completely contradictory change in the testimony.

Plaintiff revised her very clear and distinct answer that she traveled to France three times to

claims that she travelled to France “a few” times, and modified the credentials of her mental

health care provider – the previously undisclosed Dr. Judith Lightfoot – from psychiatrist to

psychologist.

       The impact of the original (presumably true) testimony is a matter for another motion, as

is the effect of the true reasons the changes were made. For purposes of this motion, what is

important is that substantive contradictory changes by errata require that, at a minimum, Plaintiff

be examined on the revisions.

       WHEREFORE, for the foregoing reasons, Ms. Maxwell requests that the Court permit

Plaintiff’s deposition to be reopened for up to seven additional hours of examination, and order

that Plaintiff pay the costs and fees associated with deposition pursuant to Fed. R. Civ. P.

30(d)(2).




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Dated: June 20, 2016



                        Respectfully submitted,



                        /s/ Laura A. Menninger
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                              CERTIFICATE OF SERVICE

I certify that on June 20, 2016, I electronically served this DEFENDANT’S MOTION TO
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